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       Attorney(s) for Social Positioning Input Systems, LLC
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   7
                        IN THE UNITED STATES DISTRICT COURT
   8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9
       SOCIAL POSITIONING INPUT         §            Case No.: 8:21-cv-01536-JLS-KES
  10   SYSTEMS, LLC,                    §
                                        §            PATENT CASE
  11
            Plaintiff,                  §
  12                                    §
       vs.                              §
  13
                                        §
  14   LOCATION BASED                   §
       TECHNOLOGIES, INC.,              §            NOTICE OF VOLUNTARY
  15
                                        §            DISMISSAL WITH PREJUDICE
  16        Defendant.                  §
       ________________________________ §
  17

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             Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”)
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       files this Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of
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       Civil Procedure 41(a)(1)(A)(i). On November 17, 2021, the Court ordered the parties
  21
       to file a stipulation of dismissal; however, Defendant has not made an appearance in
  22
       this case. Plaintiff respectfully files this Notice of Voluntary Dismissal. According to
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       Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of court
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       by filing a notice of dismissal at any time before service by the adverse party of an
  25
       answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against
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       Defendant Location Based Technologies, Inc. with prejudice, pursuant to Rule
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       41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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   1   Dated: December 2, 2021              Respectfully submitted,
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                                            /s/ Stephen M. Lobbin
   3                                        Stephen M. Lobbin
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   8                                        Attorney(s) for Plaintiff Social Positioning
                                            Input Systems, LLC
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  10                             CERTIFICATE OF SERVICE

  11          I hereby certify that on December 2, 2021, I electronically transmitted the
  12   foregoing document using the CM/ECF system for filing, which will transmit the
       document electronically to all registered participants as identified on the Notice of
  13   Electronic Filing, and paper copies have been served on those indicated as non-
  14   registered participants.
                                             /s/ Stephen M. Lobbin
  15                                         Stephen M. Lobbin
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                           NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
